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ROBERT WISNIEWSKI (RW-5308)
ROBERT WISNIEWSKI P.C.
Attorneys for Plaintiff
225 Broadway, Suite 1020
New York, NY 10007
(212) 267-2101

                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY
------------------------------------------------------------------------------X
WIOLETTA ZIELONKA, and EWA WOJTULEWICZ, on
 behalf of themselves and others similarly situated,
                                                                                Docket No.
                                                                                2:17-cv-01490-JLL-JAD

                                                     Plaintiff,                  NOTICE OF DISMISSAL
                                                                                 WITH PREJUDICE
                          -against-

SAREH BRIDAL, LLC, JOLANTA ZABOROWSKA,
and SAREH KHAJEHNOURI a/k/a SAREH NOURI

                                                      Defendants.
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        Pursuant to Rule 41(a)(l)(A)(i) of Federal Rules of Civil Procedure, the Plaintiffs Wioletta
Zielonka, and Ewa Wojtulewicz, on behalf of themselves and others similarly situated, hereby
give notice that they voluntarily dismiss with prejudice their claims against that Jolanta
Zaborowska who was served with process herein on March 21, 2017 and who resides at 28-28
29th Street, Astoria, NY 11102, based on her sworn affidavit that she is not the Defendant herein,
which she executed on April 24, 2017.

Dated: New York, New York
       May 9, 2017
                                                     ROBERT WISNIEWSKI P.C.

                                                     By: /s/ Robert Wisniewski
                                                     Robert Wisniewski, Esq.
                                                     Attorneys for Plaintiff
                                                     225 Broadway, Suite 1020
                                                     New York, New York 10007
                                                     (212) 267-2101
